Case 2:94-cr-20_256-SHI\/| bocument928 FiledO 28/05 Page`lon Page|D 147

 

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TRANSFER OF JURISDMMB PH 22 33 2:94CR20256-015

 

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SUPER“SED RELEASEE Western District of Western §Q§’, rr §

_ , Tennessee ' §§ g run
Marcella Jarm1110 $~'-EI-~‘=--~m_-
12720 Brant Rock #l l 1 NAME 0F sI~:NTENcrNG mer ~_-§ §;;-J go _"‘

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Houston, TX 77082 Honorable Julla Srmth bebons '_”_' § ' ,,, £"
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RELEASE= 09/04/04 gin /03;;18 §
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Attempted Possession of 10 Kilograms of Cocaine with lntent to Distribute; 21 U.S.C, § 86

 

PART l - ORDER TRANSFERRING JURISDICTION

 

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IT IS HEREBY ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the probationer or supervised
releasee named above be transferred with the records of this Court to the United States District Court for the
So\_lthern Q`B`ct of lexas |Hoggon) acceptance of jurisdiction This Court hereby expressly consents that

the period of probation or supervised release may be changed by the District Court to which this transfer is
made without further inquiry of this court.*

n.l'i.|<>“l _r ~Jd%%"

Date

 

 

United States District Judge

 

*Thissemmcennyhedelewdindlediscretionoftheo~ans£erring Court.

 

I’ART 2 - ORDER ACCEFI`ING JURISDICTION

 

umrED srArBs msch coun'r ron ruiz Dlsrlucr or Southern District of Texas coston

 

 

IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be
accepted and assumed by this Court from and alter the entry of this order.

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Date United States District Judge

 

 

 

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This notice confirms a copy of the document docketed as number 928 in
case 2:94-CR-20256 Was distributed by faX, mail, or direct printing on
June 29, 2005 to the parties listed.

 

 

Stuart J. Canale

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

